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                                      United States District Court
                                                      For
                                   The Western District of New York

                                               Court Order




Date; March 6, 2019

Defendant's Name: Alexander Green                  Docket Number: 6:14CR06038-001

Honorable Elizabeth A. Wolford, U.S. District Judge



THE COURT ORDERS:


□      No Action

□      The Issuance of a Warrant

□      The Issuance of a Summons

                                                            ^ar hc-fof&         ondjust
                                                            on            19, at     kH.
Signature oOtlaicial Officer


Date




Title 18 United States Code, Section 3154(5), Bail Violations
